       Case 4:19-cv-00139-RSB-CLR Document 192 Filed 02/26/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

MICHAEL JACOB CASTLE-FOSTER,

                Plaintiff,
                                                        CIVIL FILE ACTION NUMBER:
v.
                                                                4:19-cv-00139-RSB-CLR
CINTAS CORPORATION No. 2 DBA
CINTAS CORPORATION, and, CINTAS
CORPORATE SERVICES, INC.,

                Defendants.


     DEFENDANT CINTAS CORPORATION NO. 2 DBA CINTAS CORPORATION'S
                   CERTIFICATION OF NO DOCUMENTS


        COMES NOW Cintas Corporation No. 2 DBA Cintas Corporation ("Cintas" or

"Defendant") in the above-styled action and, pursuant to the Court's Order (Doc. 188 at 3, 24, 82-

83), files this its Certification of No Documents as follows:

        Defendant has made a reasonable and diligent search for the following documents

requested by Plaintiff and hereby certifies that no such further documents not already produced

exist and are not in the possession of Cintas:

        •       Drug and/or alcohol testing of Nicholas Robinson;

        •       Workers' Compensation claim by Nicholas Robinson;

        •       Partner Disciplinary Form; and

        •       Notice of Accelerated Review.

     Defendant further certifies that the entire personnel file of Nicholas Robinson was previously

produced to Plaintiff, and there are no additional documents in the personnel file that are being

withheld or to be produced..

                                                 1
      Case 4:19-cv-00139-RSB-CLR Document 192 Filed 02/26/21 Page 2 of 4




       In support of this Certification of No Documents, Defendant attaches hereto, as Exhibit

A, the Declaration/Certification of Elizabeth Thrasher.

       Respectfully submitted, this 26th day of February 2021.

                                                    Hall Booth Smith, P.C.


                                                    s/ Beth Boone
                                                    BETH BOONE
                                                    Georgia Bar No.: 130300
                                                    WILLIAM S. MANN
                                                    Georgia Bar No.: 964223
                                                    STEPHANIE R. AMIOTTE
                                                    Georgia Bar No.: 274946
                                                    R. WELLS LITTLEFIELD, III
                                                    Georgia Bar No.: 335211
                                                    PAMELA L. COLEMAN
                                                    Georgia Bar No.: 177640
                                                    Counsel for Defendants
3528 Darien Highway, Suite 300
Brunswick, Georgia 31525
PH: (912) 554-0093
Fax: (912) 554-1973
bboone@hallboothsmith.com
wmann@hallboothsmith.com
samiotte@hallboothsmith.com
rlittlefield@hallboothsmith.com
pcoleman@hallboothsmith.com




                                                2
      Case 4:19-cv-00139-RSB-CLR Document 192 Filed 02/26/21 Page 3 of 4




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

MICHAEL JACOB CASTLE-FOSTER,

                Plaintiff,
                                                        CIVIL FILE ACTION NUMBER:
v.
                                                              4:19-cv-00139-RSB-CLR
CINTAS CORPORATION No. 2 DBA
CINTAS CORPORATION, and, CINTAS
CORPORATE SERVICES, INC.,

               Defendants.


                                   CERTIFICATE OF SERVICE


        I hereby certify that I electronically filed and served upon all parties listed below a copy

of the foregoing DEFENDANT CINTAS CORPORATION NO. 2 DBA CINTAS

CORPORATION'S CERTIFICATION OF NO DOCUMENTS with the Clerk of Court for

the United States District Court for the Southern District of Georgia, Savannah Division, in

accordance with the notice of electronic filing (NEF), which was generated as a result of

electronic filing in this Court.

                                      Cecil Clay Davis, Esq.
                                      Howard E. Spiva, Esq.
                                      Mary K. Hashemi, Esq.
                                     Howard E. Spiva, II, Esq.
                                    SPIVA LAW GROUP, P.C.
                                         P.O. Box 61267
                                     Savannah, Georgia 31420
                                       Counsel for Plaintiff




                                                 3
     Case 4:19-cv-00139-RSB-CLR Document 192 Filed 02/26/21 Page 4 of 4




      This 26th day of February 2021.

                                            Hall Booth Smith, P.C.


                                            s/ Beth Boone
                                            BETH BOONE
                                            Georgia Bar No.: 130300
                                            Counsel for Defendants
3528 Darien Highway, Suite 300
Brunswick, Georgia 31525
PH: (912) 554-0093
Fax: (912) 554-1973
bboone@hallboothsmith.com




                                        4
